 

Case 2:19-cv-12519-AC-APP ECF No.1 filed 08/27/19 PagelID.1 Page 1of 14

  

   

THE MOORISH NATIONAL REPUBLIC

MOORISH DIVINE AND NATIONAL MOVEMENT OF THE WORLD
Aboriginal and indigenous Natural Peoples of North-West Amexem North America

In The
United States Supreme Court
For Connecticut Republic

Adore Bey, Authorized Representative, Natural Person, In Propria Persona:

All Rights Reserved:

U.C.C. 1-207/ 1-308; U.C.C. 1-103

Not a Corporate Person or Entity, Misrepresented by Fraudulent Construct of ALL CAPITAL LETTERS
Michigan Territory

[c/o 19936 Sussex st] --- _
[Detroit, Mi [48235] case? Nee ee
Northwest Amexem uage: 40 n, AvVern
Petitioner MJ: Patti, Anthony P.
Adore Bey Filed: 08-27-2019 At 03:03 PM

v. CMP BEY V. AMAZON DTW ETAL (NA)

Amazon DTW1/ Jeff Bezos/Shawn Westlund/Sonya Fudge
Respondents / Defendants

Jurisdiction

This action containing complaints for declaratory relief and damages, is brought against the defendants to
secure due process of law, equal protection and other rights, privileges and immunities guaranteed to
complainant by the Constitution / Treaty and laws of these United States Republic.

Jurisdiction of this court is invoked under The Zodiac Constitution ©AA222141 / Library of Congress,
Washington, District of Columbia, Constitution / Treaty and laws of the United States Republic as follows:

The U.S. Department of Justice, Office on Violence Against Women (OVW) defines sexual assault as “any
nonconsensual sexual act proscribed by Federal, tribal, or State law, including when the victim lacks the capacity to
consent” (U.S. DOJ, OVW 2018). While sexual assault is a criminal offense, the law also recognizes sexual
harassment as a form of employment discrimination. The U.S. Equal Employment’ Opportunities Commission
(EEOC) states that “unwelcome sexual advances, request for sexual favors, and other verbal or physical harassment
of a sexual nature constitutes sexual harassment when this conduct explicitly or implicitly affects an individual’s
employment, unreasonably interferes with an individual’s work performance, or creates an intimidating, hostile, or

. offensive work environment” (U.S. EEOC 2018a). Such harassment may include unwelcome verbal, visual,
nonverbal, or physical conduct that is of a sexual nature or based on someone's sex. Case law has established that to
meet the legal standards for action, workplace harassment must be “severe or pervasive” and affect working
conditions (U.S. EEOC 2018b).

Sexual harassment constitutes illegal sex discrimination under Title VH of the Civil Rights Act of 1964, which is
enforced by the EEOC;

Title VII of the Civil Rights Act of 1964 is a federal law that prohibits employers from discriminating against

employees on the basis of sex, race, color, national origin and religion. It generally applies to employers with 15 or
more employees, including federal, state and local governments.

Venue
Original Jurisdiction United States Supreme Court <Michigan Republic>

Plaintiff

Adore Bey, Natural Person, In Propria Persona Sui Juris (not to be confused with, nor substituted by, Pro Se
by unauthorized hand of another). I am Aboriginal Indigenous Moorish-American; possessing Free-hold by
Inheritance and Primogeniture Status; standing Squarely Affirmed, aligned and bound to the Zodiac
Constitution, with all due respect and honors given to the Constitution for the United States Republic, North

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America; Being a descendant of Moroccans and born in America; with the blood of the Ancient Moabites
from the Land of Moab, who received permission from the Pharaohs of Egypt to settle and inhabit
North-West Africa / North Gate. The Moors are the founders and are the true possessors of the present
Moroccan Empire; with our Canaanite, Hittite and Amorite brethren, who sojourned from the land of
Canaan, seeking new homes. Our dominion and inhabitation extended from Northeast and Southwest
Africa, across the Great Atlantis, even unto the present North, South and Central America and the
Adjoining Islands - bound squarely affirmed to THE TREATY OF PEACE AND FRIENDSHIP OF
SEVENTEEN HUNDRED AND EIGHTY-SEVEN (1787) A.D. superseded by THE TREATY OF PEACE
AND FRIENDSHIP OF EIGHTTEEN HUNDRED and THIRTY- SIX (1836) A.D. between Morocco and
the United States :

Law Book of Treaties) the same as s displayed under Treaty Law, Obligations, Authority, as expressed in
Article VI of the Constitution for the United States of America (Republic):

 

THE TREATY OF PEACE AND FRIENDSHIP OF 1836 A.D.
Between Morocco and the United States

Article 20
If. any of the Citizens of the United States, or any Persons under their Protection, shall have any disputes

with each other, the Consul shall decide between the Parties, and whenever the Consul shall require any Aid
or Assistance from our Government, to enforce his decisions, it shall be immediately granted to him.”

Article 21
“Tf any Citizen of the United States should kill or wound a Moor, or, on the contrary, if a Moor shall kill or
wound a Citizen of the United States, the Law of the Country shall take place, and equal Justice shall be
rendered, the Consul assisting at the Trial: and if any Delinquent shall make his escape. the Consul shall not
be answerable for him in any manner whatever.”

“

Defendants
AMAZON DTW1/Jeff Bezos

Facts

In support of this petition I state for the record:

1. On February 26, 2019, Adore Bey reported to ethics the behavior of multiple AMAZON DTW1
employees located at 32801 Ecorse Road, Romulus, Michigan, 48174.

2. In this report Kaylee Milnee, and Nicole Miller were named for unfair work practices, and
violating the privacy of employees.

3. Kaylee Milnee displayed unlawful work practices by logging into a stower account under the
login (ntherr) on February 21, 2019 around 3:00pm est: Kaylee Milnee worked under this login
at the same time as the employee was logged in to the station right next to her.

4. Kaylee Milnee consistently helped her best workers, as she allowed her other employees to
struggle as products were being taken away from them. She continuously wrote those that
struggled up for rates, productivity, and quality.

5. On February 21, 2019, two employees attempted to stow 5,000 products. Both stowers skipped
their two o’clock break, thus giving them a total of six hours of stowing with no food, and barely
using the restroom or hydrating.

6. On February 22, 2019, Adore Bey went to HR (Human Resources) to report her Manager Kaylee
Milnee for unsafe and unfair work practices.

7, Adore Bey spoke with Nicole Miller in front of 3 unidentified HR witnesses about Kaylee
Milnee.

8. In the midst of a conversation between Adore Bey and Nicole Miller, Kaylee walked in, and
Nicole got up and pushed her back out of the room. Nicole never returned, leaving another HR

Representative to finish up with Adore Bey.

9. February 23, 2019, Nicole Miller aggressively questioned Lige Bostic as he inquired about the
number to ethics.

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On February 26, 2019, Adore Bey reported sexual harassment and unfair treatment from water
spiders to ethics. (See Exhibit 1)

On March 27, 2019, Adore Bey reported the names of three employees all being water spiders, to
investigate for sexual harassment Timothy Mitchell, Antuan, & Matthew.

Timothy Mitchell stated that women will do anything for product, he consistently catered to
certain women while removing product from other hard working employees.

Antuan consistently made comments about the sexual preference of Adore Bey, as well as
grabbing her to engage in hugs, while saying sexual things as in he was giving her good product
because she was wearing leggings.

On a daily basis Antuan expressed to Adore Bey that he wishes she wasn’t interested in women,
repeatedly expressing his feelings towards her sexuality.

Matthew favored one woman in particular and would only cater to her, he also engaged in the
removal of other employees work.

An unidentified cleaner asked Adore Bey on the elevator at 7am if she was busting down last
night, relating to sexual activity.

On March 27, 2019, Adore Bey had constant anxiety attacks and decided to take a leave while
the case was being handled.

When Adore Bey returned April 11, 2019, Antuan reported to Adore Bey that Linda had reported
Timothy, Matthew, and himself. Everyone denied the accusations.

From April 11- May 4, 2019 Adore Bey went on many occasions to see what was being done
about the case. Continuously ensured that something would be done.

May 4- June 5, 2019 Adore Bey was ona leave from Amazon. Upon returning on May 4th
Adore Bey again inquired with HR about the status, finding out that nothing had been done.

On June 14, 2019, Adore Bey again inquired about the sexual harassment case with Nicole
Miller. Nicole Miller advised Adore Bey to rewrite all facts in the case once again. She then
informed her that the case had switched from herself, to Brandon Wisdom, to Bryan (Head of
HR), and back to Brandon.

Bryan spoke with Adore Bey and insisted that the situation would be handled that day.

Bryan and Brandon continuously promised remedy for the anxiety attacks that Adore Bey
experienced after months of constantly working around her sexual harassers.

Adore Bey managers Dominique Moore and Troy Lanez, moved her away from those listed on
multiple occasions after the men complained about Adore Bey working near them.

Brandon informed Adore Bey that because it had been months, and they failed to properly
investigate the case, they wouldn’t be able to move forward in the case. Brandon Wisdom went
on to say that it was because of a lack of staff, and lack of communication as weil as being
overworked.

On June 14, 2019, Adore Bey named Linda for communicating to everyone that Adore Bey is the
one that reported everyone.

On June 14, 2019, Adore Bey named Linda as a possible witness of the behavior of the water
spiders.

On June 14, 2019, Adore Bey expressed her discomfort with the fact that Linda who told
everyone about her case came in with a gun.

No one ever updated Adore Bey on if they spoke with Linda or if she’d be considered a witness.
On June 14, 2019, Adore Bey expressed how she’d been coming in with constant anxiety

because the case dragged on for so long.

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31. On June 19, 2019, Adore Bey called ethics for the second time to report this case and to inform
them that nothing had previously been done.

32. On June 25, 2019, After receiving no solution to the case, Adore Bey wrote on the employees
VOA Board that Amazon has failed humanity and women. Adore Bey also mentioned that if she
had any further problems she’d take legal action.

33. After reporting to ethics, Adore Bey spoke with Bryan and Brandon again about the case.
34. Between the last conversations nothing had yet to be done.

35. Brandon again admitted that the case had been pushed off for so long due to lack of HR staffing,
as well as the case being passed off so many times.

36. When it came down to finding a solution for this case, everyone that Adore Bey spoke to failed to
do anything, continuously claiming to have no other witnesses. No one in this case received
disciplinary action.

37. Troy Lanez & Dominique Moore continuously acted ignorant to the case, claiming to have been
unaware of it for months.

38. Adore Bey explained to Bryan head of Human Resources and Shawn Westlund General Manager
of Amazon that she’d been sexually harassed on a daily basis and missing work because of
anxiety and the case being prolonged. Shawn Westlund first insisted that Adore Bey work
through the anxiety, then stated that she could move to another department to avoid being around
the men.

39. Adore Bey explained to Shawn Westlund that moving her wasn’t going to solve the issue at hand
and that she still felt uncomfortable and unprotected within the entire case..

40. Timothy Mitchell continued to deny claims and take part in reputation demolition against Adore
Bey.

41. Adore Bey reported feeling harrassed by manager Travis Tracey and requested removal from his
team due to the anxiety he causes her. Removal was granted up until July 26-27, 2019.

42. On July 27, 2019 Travis Tracey was sent by Sonya Fudge along with Michael Sheppard to assist
him in delivering a write up to Adore Bey for productivity and quality because Adore Bey new
manager was sick that day.

43. On July 27, 2019 Sonya Fudge insisted that because Adore Bey had so many problems with
multiple people that she was the problem after encouraging her to take legal action in a prior
conversation. a

44, Sonya Fudge followed Adore Bey into HR blurting out to the representatives “I have already talked
with her about her issues.”

Legal Claims

The U.S. Department of Justice, Office on Violence Against Women (OVW) defines sexual assault as
“any nonconsensual sexual act proscribed by Federal, tribal, or State law, including when the victim lacks
the capacity to consent” (U.S. DOJ, OVW 2018). While sexual assault is a criminal offense, the law also
recognizes sexual harassment as a form of employment discrimination. The U.S. Equal Employment
Opportunities Commission (EEOC) states that “unwelcome sexual advances, request for sexual favors,
and other verbal or physical harassment of a sexual! nature constitutes sexual harassment when this
conduct explicitly or implicitly affects an individual’s employment, unreasonably interferes with an
individual’s work performance, or creates an intimidating, hostile, or offensive work environment” (U.S.
EEOC 2018a). Such harassment may include unwelcome verbal, visual, nonverbal, or physical conduct
that is of a sexual nature or based on someone’s sex. Case law has established that to meet the legal
standards for action, workplace harassment must be “severe or pervasive” and affect working conditions
(U.S. EEOC 2018b).

Sexual harassment constitutes illegal sex discrimination under Title VII of the Civil Rights Act of 1964,
which is enforced by the EEOC;

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Title VII of the Civil Rights Act of 1964 is a federal law that prohibits employers from discriminating
against employees on the basis of sex, race, color, national origin and religion. It generally applies to
employers with 15 or more employees, including federal, state and local governments.

RELIEF

1. The Enforcement of the following: The Divine Constitution and By-Laws of the Moorish Science
Temple of America; The Moorish Nation of North America; Act VI: By Being Moorish American, you are
Part and Parcel of this said government and Must Live the Life Accordingly; Article VI of the United States
Constitution Republic / The Treaty of Peace and Friendship of EIGHTEEN HUNDRED and THIRTY-SIX
(1836) A.D., Classifies Moorish Americans as Federal Citizens Possessing Freehold by Inheritance
Status-Truth A-1. See Article 3, Section 2 of ‘The Constitution for the United States of America’.

1) I, Adore Bey, demand Due Process as protected by the Fourth (4") and Fifth (5") Amendments of the
Constitution for the United States of America (Republic).

2) I, Adore Bey, demand this United States Federal Court stop these abuses of the colorable authority by the
Plaintiff as it pertains to this Petitioner.

3) I, Adore Bey, demand if any criminal charges be found, let them be placed upon the Defendants.

4) I, Adore Bey, demand this United States Federal court view this Petitioner (in my Proper Person) as a
Moorish American National (Natural Born Citizen of the Land) and not as a (brand) NEGRO,
BLACKMAN (person), COLORED, AFRICAN-AMERICAN, or any other SLAVE TITLE or ‘nom de
guerre’ imposed upon me for misrepresentation ‘Actions’ or other acts of ‘Misprision’ that a misdirected
society may “believe” to be true.

5) I, Adore Bey, do not, under any condition or circumstance, by threat, duress, or coercion, waive any rights
Inalienable or Secured by the Constitution or Treaty, and hereby requests the United States Supreme Court
to fulfill their obligation to preserve the rights of this Petitioner (A Moorish American) and carry out their
Judicial Duty in ‘Good Faith’ by ordering Defendants to be brought before the Law to answer for their
criminal and unjust actions.

6) All UNCONSTITUTIONAL ‘Order’ or ‘Action’ associated with it / them, to be dismissed and expunged
for the record on it’s face and merits; or, otherwise, be brought before a legitimately - delegated, and
competent “Court of Law’ of International jurisdiction / venue.

7) All Agents, State and Federal Officials, Contractors are to be informed of the Law of the Land
(Constitution) and their obligation to uphold the same and to no longer be excused without action on the
part of the Sheriff for violating the same. And to be made cognizance of the recompense of colorable
actions on their part, by not adhering to the Law.

8) Any Respondent, Corporate or Natural, Party-Claimants; Involvements be found guilty in violation United
States Republic Constitution, United States Code of Law, and in accord with the law is required by law to
immediate 'recusal of his or her office.

9) Respondent Jeff Bezos is being sued for $333,000 for compensatory damages and $75,000 for punitive
damages in its official capacity payable in lawful money.

10) Respondent Shawn Westlund is being sued for $75,000 for compensatory damages and $75,000 for punitive
damages in its official capacity payable in lawful money.

11) Respondent Sonya Fudge is being sued for $75,000 for compensatory damages and $75,000 for punitive
damages in its official and private capacity payable in lawful money.

TRIAL BY JURY OF MY OWN PEERS WAS, AND IS, DEMANDED

I declare under the penalty of perjury under the law of the UNITED STATES CODES that the above is true
and correct to the best of my knowledge and honorable intent.

Respectfully submitted this PV day of Augi Cf, 2019

I am’ EF LL. Ks / ile 7, Authorized
Representative 4 ¥f) M6; { Wiel Ff oy

Natural Person, In Propria Persona: Adore B

 

  

All Rights Reserved: U.C.C. 1-207/ 1-308; U.C.C. 1-103
Michigan Territory [% 19936 Sussex St] [Detroit Mi, 48235]
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For the record, on the record, and let the record show
Memorandum to Waive All UNITED STATES MUNICIPAL COURT Document Fees

To: UNITED STATES MUNICIPAL COURT

United States District Court Office of the Clerk
231 W. Lafayette
5th Floor
[ Detroit Territory [10101]]

From: Adore Bey ex Relatione Shauntavia Ward-Sweet (All Rights claimed and exercised at
thistime) C/o
{Detroit Territory [48235]]

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To the UNITED STATES MUNICIPAL COURT CLERK:

Whereas, Moorish American Nationals are not US Citizens per the 13° Amendment Section 12
which states that: “The traffic in Slaves with Africa is hereby forever prohibited on pain of
death and the forfeiture of all the rights and property of persons engaged therein; and the
descendants of Africans shall not be citizens.” Ratified January 1865 with a vote of 119-56.

L, tesa. bi, Aboriginal Indigenous Divine Natural Moorish American Person, In Propria
Persona (And Not Pro Se Nor Colorable, nor represented by an Attorney at any time) due hereby
declare and affirm the following Treaties, Supreme Law of the Land, National and International
Declarations, and Case Law to be applicable with regard to waiver of all United States District

Court fees for cases, lawsuits, copying, sending, receiving, and viewing documents for Public
viewing and use:

1. The Treaty of Peace and Friendship 1786/1836.
The Constitution For the United States Republic of North America 1789/1791-
Articles Ill and Vl as well as stated amendments.

3. The Declaration on the Rights of Indigenous People, 2010.

United States Constitution Article VI
- “All debts contracted and engagements entered into, before the adoption of this

Constitution, shall be as valid against the United States under this Constitution, as under
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Confederation. This Constitution, and the laws of the United States which shall be made in pursuance thereof;
and all treaties made, or which shall be made, under the authority of the United States, shall be the
supreme law of the land; and the judges in every state shall be bound thereby, anything in the
Constitution or laws of any State to the contrary notwithstanding. The Senators and Representatives
before mentioned, and the members of the several state legislatures, and all executive and judicial
officers, both of the United States and of the several states, shall be bound by oath or affirmation, to
support this Constitution; but no religious test shall ever be required as a qualification to any office or
public trust under the United States.”

SJerefore, in preservation of ‘The Rights of Indigenous Peoples’ and the Preservation of the

Rights of the People, in accord and defence of the Constitution for the United States

Republic of North America and its Republican Form of Government - being the ‘Supreme

Law of the Land’; and primal to the contractual liabilities, Oath - bound Obligations, and

Fiduciary Duties of the Officers of the Courts - Federal, State, City, and Municipal, etc., |

hereby, Demand the enforcement of the De jure Laws of the United States, and all Treaties

made under the Authority of The United States, in accord with Article VI of the Constitution;
The Bill of Rights; The Declaration of the Rights of the Child; The Rights of Indigenous Peoples; The

Universal Declaration of Human Rights; The United Nations Charter, Article

55(c); The United States Supreme Court - ‘Acts of State’; The Foreign Sovereign Immunities Act 28

USC 1601; et Sequa., The Convention on ‘International Road Traffic’ —Day 19, September 1949,

The World Court Decisions, The Hague, Netherlands, Day 21, January 1958 A.D = 1378 M.C.; and

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“Executive Order 13107” - United States Republic, North America: The Implementation of Human
Rights Treaties; The National Constitution for the Continental United States, Article Ill, Section 2;
Amendment V - Liberty Clause; Amendment IX, etc., etc. | hereby, Demand a REMOVAL of any and
all unconstitutional fees demanded by the United States District Court Clerk for the viewing, use,
copying, sending, or receiving of documents for Public use of any kind.

! Respectfully, with ‘Good Faith’, and with Honor, demand free access to the Court and it’s
documents by Right, with said access unhindered.

I, Mtheres Lo ogg real, live flesh and blood, breathing, non-fictional, and Natural Being, born

of a natural

 

Mother, do solemnly, sincerely, and squarely Affirm that the foregoing facts contained in this
Constructive and Actual Judicial Notice and Proclamation, by Affirmed Affidavit, are true, to the best of

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my knowledge, Culture, Customs and Beliefs; being actual, correct, not misleading, etc.; and being the
Truth, the whole Truth, and nothing but the Truth.

Fb ibu (Love}, Pbaag (Truth), Yalaam (Peace), “urryatun (Freedom), Adl (Justice),

AN Rights Reserved Without Prejudice / Recourse; Allodial Claim.

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Propria Persona’ (Not Pro Se Nor Colorable) *Moors / Muurs: The Aboriginal and Indigenous Natural Peoples and True Inheritors of the Lands (Territories) - North
America, Central America, South America, and the Adjoining Islands Al Moroc / Ameru / Americana)

 

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Aboriginal and Indigenous Peoples’ Documents: Northwest Amexem / Northwest Africa / North America / The Moroccan Empire - Continental United States.

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IS 44 (Rev. 0214LQSE 2:19-cv-12519-AC-APPC FRE NCOVER HER FY PagelD.12 Page 12 of 14

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

  

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(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant @ [e MM)

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONL

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(c) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
II. BASIS OF JURISDICTION (Place an “x” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government O 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 1 Incorporated or Principal Place go4 a4
of Business In This State
2 U.S. Government /4 Diversity , Citizen of Another State a2 O 2 = Incorporated and Principal Place oO5 a5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject ofa 43 O 3 Foreign Nation
Foreign Country
IV. NATURE OF SUIT (Place an One Box Only) Click here for: Ni:
0 110 Insurance PERSONAL INJURY PERSONAL INJURY CO) 625 Drug Related Seizure 422 Appeal 28 USC 158
© 120 Marine © 310 Airplane CO 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal O 376 Qui Tam (31 USC
OG 130 Miller Act CJ 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liability O 367 Health Care/ CG 400 State Reapportionment
© 150 Recovery of Overpayment e70 Assault, Libel & Pharmaceutical eFC] 410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 430 Banks and Banking
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